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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


       DAVID JAMES BRODIGAN,                     )
                                                 )
                    Plaintiff,                   )
                                                 )
              vs.                                )           Case No. 4:18-cv-00273-JAR
                                                 )
       BEN E. SWINK, et al.,                     )
                                                 )
                    Defendants.                  )

                                 MEMORANDUM AND ORDER

       This matter is before the Court on Plaintiff David James Brodigan’s Motion to Stay

Discovery Until Quarantine at This Institution Ends. (Doc. 114.) Brodigan represents that, due to

the COVID-19 pandemic, he is confined to his cell for twenty-three hours every day. (Id.) He

reportedly has no access to the law library, computer, law books, or other legal material. (Id.) He

asks the Court to stay discovery until the quarantine ends and to allow him sixty days thereafter to

complete discovery. (Id.)

       The Court is cognizant of the significant restrictions Plaintiff faces and is sympathetic to

the difficulty of presenting his case under those circumstances. However, the Court believes that

staying discovery is an unnecessarily drastic remedy and that Plaintiff’s reduced access can be

adequately addressed through the Court’s continued liberal granting of extensions of time.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff David James Brodigan’s Motion to Stay

Discovery (Doc. 114), is DENIED.

       Dated this 9th day of July, 2020.         ________________________________
                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE
